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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                 )
 ROBERT W. MCKENNEY,                             )   Docket No. 2:16-cv-00630-JAW
                Plaintiff                        )
                                                 )
 v.                                              )
                                                 )
 THOMAS FARRINGTON, ET AL                        )
                     Defendants                  )
                                                 )


            DEFENDANTS’ MOTION TO DISMISS WITH INCORPORATED
                         MEMORANDUM OF LAW

       NOW COME Defendants Thomas Farrington and Lane Feldman, by and through

undersigned counsel, and hereby move this honorable Court pursuant to Fed.R.Civ.P. 41(b), to

dismiss Plaintiff=s Complaint.

       “A party, not the district court, bears the burden of keeping the court apprised of any

changes in his mailing address.”       Carey v. King, 856 F.2d 1439, 1441 (9th Cir. 1988).

McKenney has run afoul of this rule.

       Defense counsel has been unable to serve copies of the Answer and Interrogatories and a

Request for Documents on McKenney. Defense counsel originally sent these documents to the

address McKenney provided to the Court, which was the address of the Androscoggin County Jail.

This mail was returned with an indication that McKenney had been released.

       Defense counsel then located another address in Woolwich from Plaintiff’s inmate file and

sent the mail there. On June 19, 2017, Attorney Jim Day contacted the office of defense counsel.

Attorney Day informed this office that he was in possession of the mail for McKenney. The

address in Woolwich was McKenney’s mother’s address, but McKenney’s mother has since
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passed away. Attorney Day is handling her estate. Attorney Day returned the mail to this office

and asked that this office remove the address in Woolwich from our records. Defense counsel

does not have another address for McKenney.

       The Court has similarly been unable to serve McKenney. All correspondence from the

Court from March until now have been returned as undeliverable. McKenney has failed to

provide the Court with an updated address.

       At this point, the Defendants are unable to proceed with the case because they are unable

to serve discovery on McKenney. For these reasons, Defendants Thomas Farrington and Lane

Feldman respectfully request that the Court grant this Motion to Dismiss Plaintiff=s Complaint.




Dated: June 29, 2017                                _/s/Cassandra S. Shaffer________________
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